Case 1:21-mj-00573-ZMF Document 4 Filed 08/20/21 Page 1of1

AQ 442 (Rev. 01/09) Arrest Warrant

 

UNITED STATES DISTRICT COURT

for the
District of Columbia Té. 02 ony aanTao
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02:ZHd 90- TWHSMOM *e- n
United States of America Case: 1:21-mj-00573
v. Assigned to: Judge Faruqui, Zia M.
Floyd Ray Roseberry } Assign Date: 8/20/2021
) Description: COMPLAINT W/ ARREST WARRANT
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) — Floyd Ray Roseberry ?
who is accused of an offense or violation based on the following document filed with the court:

© Indictment O Superseding Indictment 0 Information © Superseding Information a Complaint

© Probation Violation Petition £1 Supervised Release Violation Petition OViolation Notice O Order of the Court

This offense is briefly described as follows:
18 U.S.C. § 2332a(a)(2)(A) and 18 U.S.C. § 844(e)

2021.08.20
13:32:44 -04'00'

Issuing officer's signature

 

Date: 08/20/2021

City and state: | Washington, D.C. United States Magistrate Judge Zia M. Faruqui

Printed name and title

 

Return

 

 

This warrgnt,was received on (date) & 0 , and the person was arrested on (date) s. /

at (city and state)
Date: OS AIR OSAOJAL Lbs ZA
Arresting officer’ '§ Signature

“Alec Atbins Di 5)

Printed name and title

 

 
